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                      UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

USA                                              §
                                                 §
vs.                                              §     No: EP:25-CR-00344(1)-KC
                                                 §
(1) Melvin Gustavo Rivera-Recinos                §

      ORDER APPROVING AND ADOPTING REPORT & RECOMMENDATION
                    AND ACCEPTING GUILTY PLEA

       On this day, the Court considered the Report and Recommendation of the United States

Magistrate Judge filed in the above-captioned cause. Pursuant to 28 U.S.C. § 636(b), this Court

referred this cause to the Magistrate Judge to administer a guilty plea in accordance with Federal

Rule of Criminal Procedure 11. Defendant consented to the administration of the guilty plea and

allocution by the Magistrate Judge.

       Having reviewed the Report and Recommendation, and there being no objection to the

Report and Recommendation timely filed pursuant to 28 U.S.C. § 636(b), the Court finds that

the Report and Recommendation is neither clearly erroneous nor contrary to law. Consequently,

the Court is of the opinion that the Report and Recommendation should be approved and

adopted, and Defendant’s guilty plea should be accepted.

       Accordingly, IT IS HEREBY ORDERED that the Report and Recommendation of the

United States Magistrate Judge is APPROVED and ADOPTED.

       IT IS FURTHER ORDERED that Defendant’s guilty plea is ACCEPTED.

       SIGNED: March 20, 2025.



                                                 ______________________________
                                                 HONORABLE KATHLEEN CARDONE
                                                 UNITED STATES DISTRICT JUDGE
